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                               UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION


    Alliance for Hippocratic Medicine, et al.,

                                 Plaintiffs,

            and

    State of Missouri, et al.,

                                 Intervenor-Plaintiffs,              Case No. 2:22-cv-00223-Z

            v.

    U.S. Food and Drug Administration, et al.,

                                 Defendants,

            and

    Danco Laboratories, LLC,

                            Intervenor-Defendant.

                                 MOTION TO WITHDRAW APPEARANCE
                                      OF JULIE STRAUS HARRIS

            Pursuant to Local Rules 7.1 and 83.12(a) of the United States District Court for the

    Northern District of Texas, the undersigned counsel for Defendants hereby moves to withdraw

    the appearance of Julie Straus Harris as counsel in the above-styled case.

            Since entering an appearance in this case, the undersigned has moved into a different

    management role in the Federal Programs Branch of the U.S. Department of Justice. The

    undersigned is no longer assigned to this matter and will, therefore, no longer be participating in

    this case. In support of this motion, the undersigned represents that Defendants are currently and

    will continue to be represented by the following counsel of record:
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                                    DANIEL SCHWEI
                                    KATE TALMOR
                                    U.S. Department of Justice
                                    Civil Division, Federal Programs Branch
                                    1100 L St., NW
                                    Washington, DC 20005

                                    NOAH T. KATZEN
                                    Civil Division, Consumer Protection Branch
                                    450 5th St., NW
                                    Washington, DC 20530

            WHEREFORE, the undersigned respectfully requests that the Court grant the withdrawal

    of the appearance of Julie Straus Harris as counsel for Defendants.


    December 10, 2024                        Respectfully submitted,


                                             /s/ Julie Straus Harris
                                             Julie Straus Harris
                                             Assistant Branch Director
                                             U.S. Department of Justice
                                             Civil Division, Federal Programs Branch
                                             1100 L St. NW
                                             Washington, DC 20005
                                             202-353-7633
                                             julie.strausharris@usdoj.gov




                                 CERTIFICATE OF CONFERENCE


            I certify that on December 9, 2024, counsel for Defendants conferred with counsel for all

    parties regarding this motion. Counsel are unopposed to this motion.


                                                             /s/ Julie Straus Harris________
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                                       CERTIFICATE OF SERVICE


            I certify that on December 10, 2024, I electronically filed the foregoing using the

    CM/ECF system. Notice of this filing will be sent by operation of the Court’s electronic filing

    system to all parties of record.

                                                          /s/ Julie Straus Harris________
